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                       IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, NORTHERN DIVISION



 UNITED STATES OF AMERICA,                               Case No. 1:21-CR-00073 RJS

                    Plaintiff,                           INITIAL NOTIFICATION OF
                                                         COMPLIANCE AND REQUEST FOR
 vs.                                                     RECIPROCAL DISCOVERY

 JUSTIN MICHAEL VANDERWOUDE AND
 DANA JEAN STEELE,                                       Judge Robert J. Shelby

                    Defendants.


       The United States of America, by and through the undersigned, hereby files its initial

notification of compliance with its discovery obligations in this case and request for reciprocal

discovery from the defendant.

       The United States gives notice that the following is being or has been provided to counsel

for the defendant via USAfx:




                                                −1−
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 Discovery produced: Bate Numbered Documents:

 NOC 1                  See Attached Discovery Index




       As additional discoverable material becomes available, such material will be provided

within a reasonable time. Throughout this case, the United States will provide material

discoverable under Rules 16 and 26.2 of the Federal Rules of Criminal Procedure and the Jencks

Act without requiring the defendant to make a specific request for such material. Upon the request

of the defendant, the United States will permit and facilitate the defendant’s own inspection,

copying or photographing of those items described/defined in Rule 16(a)(1)(E).

       The United States also hereby requests disclosure of evidence by the defendant (also known

as reciprocal discovery) pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure and

DUCrimR 16-1(c). By providing Rule 16 discovery without requiring a specific request from the

defense, the United States invokes a reciprocal obligation on the defendant under DUCrimR 16-

1(c), which states that the defendant must allow the government to inspect and to copy the

following, as further defined in Rule 16 of the Federal Rules of Criminal Procedure:

              a.      Documents and tangible objects the defendant intends to introduce as
                      evidence at trial;

              b.      Reports of examinations and tests the defendant intends to introduce at trial
                      or that were prepared by a witness whom the defendant intends to call at trial;
                      and

              c.      A written summary of the testimony of any expert the defendant intends to
                      use a trial under Federal Rules of Evidence 702, 703 and 705.


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The United States requests that the defendant provide to the government at a reasonable time

before trial, but no later than five working days before trial, copies of the material referenced in

this paragraph. Further, the United States requests continuing compliance with the reciprocal

discovery following the initial disclosure.

       The United States also hereby requests all written and recorded statements by any witness

other than the defendant whom the defendant intends to call at trial or a hearing covered by the

Jencks Act or Rule 26.2 of the Federal Rules of Criminal Procedure.

       DATED this 25th day of June, 2021.

                                                    JOHN W. HUBER
                                                    United States Attorney

                                                    /s/ Nathan D. Lyon
                                                    GAGE H. ARNOLD
                                                    NATHAN D. LYON
                                                    Special Assistant United States Attorneys




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I am an employee of the United States Attorney=s Office, and that a

copy of the foregoing INITIAL NOTIFICATION OF COMPLIANCE was made available to all

parties identified below on June 25, 2021.


       Kristen Angelos
       Attorney for Defendant Vanderwoude
       46 W. Broadway, Suite 110
       Salt Lake City, Utah 84101

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                                                 /s/ Beth Z. McAlpin
                                                 Beth Z. McAlpin
                                                 Legal Administrative Specialist




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                                                US v. Justin Vanderwoude, et al DISCOVERY INDEX

CATEGORY        FOLDER NAME                    DESCRIPTION                                                                BATES BEGIN            BATES END                 RELATED CESOURCE     NOC
                Jail Calls - Davis County
Media           Correction Facility            10.61.0.21-0fd473b90a3d001548f98163dda6b4d0.wav                            AV-DCCF-JMV-01-00001   AV-DCCF-JMV-01-00001               Agent             1
                                               10.61.0.21-4d21e1e00a3d001548f9816375c09fd6.wav                            AV-DCCF-JMV-01-00002   AV-DCCF-JMV-01-00002               Agent             1
                                               10.61.0.21-9ab334130a3d001579207487d0b5ff4e.wav                            AV-DCCF-JMV-01-00003   AV-DCCF-JMV-01-00003               Agent             1
                                               10.61.0.21-9fe7c2b10a3d00157920748729df6ca9.wav                            AV-DCCF-JMV-01-00004   AV-DCCF-JMV-01-00004               Agent             1
                                               10.61.0.21-33b775b50a3d001548f98163c1ce970b.wav                            AV-DCCF-JMV-01-00005   AV-DCCF-JMV-01-00005               Agent             1
                                               10.61.0.21-80f43f8a0a3d00156268ca715507cce2.wav                            AV-DCCF-JMV-01-00006   AV-DCCF-JMV-01-00006               Agent             1
                                               10.61.0.21-05782d880a3d001548f98163e4f26fd2.wav                            AV-DCCF-JMV-01-00007   AV-DCCF-JMV-01-00007               Agent             1
                                               10.61.0.21-7517bd7c0a3d001535001fd27dfb0118.wav                            AV-DCCF-JMV-01-00008   AV-DCCF-JMV-01-00008               Agent             1
                                               10.61.0.21-70988ce10a3d001535001fd2ed759349.wav                            AV-DCCF-JMV-01-00009   AV-DCCF-JMV-01-00009               Agent             1
                                               10.61.0.21-bef3d5170a3d001579207487e1f7acdb.wav                            AV-DCCF-JMV-01-00010   AV-DCCF-JMV-01-00010               Agent             1
                                               10.61.0.21-caf40d8a0a3d001535001fd2e70482a1.wav                            AV-DCCF-JMV-01-00011   AV-DCCF-JMV-01-00011               Agent             1
                                               10.62.0.21-0aac60260a3e00155385af567eac4d4c.wav                            AV-DCCF-JMV-01-00012   AV-DCCF-JMV-01-00012               Agent             1
                                               10.62.0.21-0fe024510a3e00155385af56e09b696b.wav                            AV-DCCF-JMV-01-00013   AV-DCCF-JMV-01-00013               Agent             1
                                               10.62.0.21-0ff0e23b0a3e00155385af5681e50712.wav                            AV-DCCF-JMV-01-00014   AV-DCCF-JMV-01-00014               Agent             1
                                               10.62.0.21-5f124f3d0a3e001510c8feccbb1d65b0.wav                            AV-DCCF-JMV-01-00015   AV-DCCF-JMV-01-00015               Agent             1
                                               10.62.0.21-7f5e25730a3e001510c8fecccee2898d.wav                            AV-DCCF-JMV-01-00016   AV-DCCF-JMV-01-00016               Agent             1
                                               10.62.0.21-57c420810a3e00155385af562ba170df.wav                            AV-DCCF-JMV-01-00017   AV-DCCF-JMV-01-00017               Agent             1
                                               10.62.0.21-485821f00a3e00155385af56a52451ec.wav                            AV-DCCF-JMV-01-00018   AV-DCCF-JMV-01-00018               Agent             1
                                               10.62.0.21-6108529e0a3e00155385af56a8f33faf.wav                            AV-DCCF-JMV-01-00019   AV-DCCF-JMV-01-00019               Agent             1
                                               10.62.0.21-6214447f0a3e00155385af568ee97438.wav                            AV-DCCF-JMV-01-00020   AV-DCCF-JMV-01-00020               Agent             1
                                               10.62.0.21-a4da38310a3e00155dfc40a5409ea8e6.wav                            AV-DCCF-JMV-01-00021   AV-DCCF-JMV-01-00021               Agent             1
                                               10.62.0.21-a498363b0a3e00155dfc40a592c07161.wav                            AV-DCCF-JMV-01-00022   AV-DCCF-JMV-01-00022               Agent             1
                                               10.62.0.21-b45860310a3e00155dfc40a586c6d810.wav                            AV-DCCF-JMV-01-00023   AV-DCCF-JMV-01-00023               Agent             1
                                               10.62.0.21-c6d410280a3e001510c8feccd312c1cd.wav                            AV-DCCF-JMV-01-00024   AV-DCCF-JMV-01-00024               Agent             1
                                               10.62.0.21-c93d422e0a3e00155dfc40a5a2d6728b.wav                            AV-DCCF-JMV-01-00025   AV-DCCF-JMV-01-00025               Agent             1
                                               10.62.0.21-fbb27c1e0a3e00155dfc40a55c687758.wav                            AV-DCCF-JMV-01-00026   AV-DCCF-JMV-01-00026               Agent             1
                                               10.65.0.21-4d50ed9f0a41001571fca77843cb2fac.wav                            AV-DCCF-JMV-01-00027   AV-DCCF-JMV-01-00027               Agent             1
                                               10.65.0.21-4d756c8c0a41001571fca77865e6eb06 (1).wav                        AV-DCCF-JMV-01-00028   AV-DCCF-JMV-01-00028               Agent             1
                                               10.65.0.21-7beb64690a41001534841c267e03e2eb.wav                            AV-DCCF-JMV-01-00029   AV-DCCF-JMV-01-00029               Agent             1
                                               10.65.0.21-7bf428640a41001534841c26814f19d0.wav                            AV-DCCF-JMV-01-00030   AV-DCCF-JMV-01-00030               Agent             1
                                               10.65.0.21-7f89c4870a4100151a9f4cda410f285f.wav                            AV-DCCF-JMV-01-00031   AV-DCCF-JMV-01-00031               Agent             1
                                               10.65.0.21-57af495b0a41001571fca778eba4c7db.wav                            AV-DCCF-JMV-01-00032   AV-DCCF-JMV-01-00032               Agent             1
                                               10.65.0.21-569daef30a4100151a9f4cdada472ae7.wav                            AV-DCCF-JMV-01-00033   AV-DCCF-JMV-01-00033               Agent             1
                                               10.65.0.21-aa42ee060a4100150fcc06e060755d69.wav                            AV-DCCF-JMV-01-00034   AV-DCCF-JMV-01-00034               Agent             1
                                               10.65.0.21-aa149ce90a4100150fcc06e0717eec90.wav                            AV-DCCF-JMV-01-00035   AV-DCCF-JMV-01-00035               Agent             1
                                               10.65.0.21-b831d4d90a4100151a9f4cda1d9339e1.wav                            AV-DCCF-JMV-01-00036   AV-DCCF-JMV-01-00036               Agent             1
                                               10.65.0.21-b46412a00a4100150fcc06e0015fba4e.wav                            AV-DCCF-JMV-01-00037   AV-DCCF-JMV-01-00037               Agent             1
                                               10.65.0.21-d07073790a41001571fca778eeed3cad.wav                            AV-DCCF-JMV-01-00038   AV-DCCF-JMV-01-00038               Agent             1
                                               10.66.0.21-7bb552050a42001564f8ff199a19c3f8.wav                            AV-DCCF-JMV-01-00039   AV-DCCF-JMV-01-00039               Agent             1
                                               10.66.0.21-22be69fd0a4200156b7196e49a3c6a14.wav                            AV-DCCF-JMV-01-00040   AV-DCCF-JMV-01-00040               Agent             1
                                               10.66.0.21-57cbc5e70a4200156b7196e429cab772.wav                            AV-DCCF-JMV-01-00041   AV-DCCF-JMV-01-00041               Agent             1
                                               10.66.0.21-95c5f4d30a4200152d5ef02ccaae1d39.wav                            AV-DCCF-JMV-01-00042   AV-DCCF-JMV-01-00042               Agent             1
                                               10.66.0.21-298a0e060a4200156b7196e4a79e7abd.wav                            AV-DCCF-JMV-01-00043   AV-DCCF-JMV-01-00043               Agent             1
                                               10.66.0.21-526a93930a4200156b7196e4e7125fe0.wav                            AV-DCCF-JMV-01-00044   AV-DCCF-JMV-01-00044               Agent             1
                                               10.66.0.21-769b82a90a42001564f8ff19537a4865.wav                            AV-DCCF-JMV-01-00045   AV-DCCF-JMV-01-00045               Agent             1
                                               10.66.0.21-943234910a420015415e0165e2942d0a.wav                            AV-DCCF-JMV-01-00046   AV-DCCF-JMV-01-00046               Agent             1
                                               10.66.0.21-adf454880a420015415e016581b80d41.wav                            AV-DCCF-JMV-01-00047   AV-DCCF-JMV-01-00047               Agent             1
                                               10.66.0.21-c3bc4ea30a4200152d5ef02c1f474e5f.wav                            AV-DCCF-JMV-01-00048   AV-DCCF-JMV-01-00048               Agent             1
                                               10.66.0.21-cb032c630a420015415e01657965e0fe.wav                            AV-DCCF-JMV-01-00049   AV-DCCF-JMV-01-00049               Agent             1
                                               10.66.0.21-d72a305b0a4200156b7196e47a68112b.wav                            AV-DCCF-JMV-01-00050   AV-DCCF-JMV-01-00050               Agent             1
                                               10.66.0.21-d377ebd50a4200152d5ef02c187af4c4.wav                            AV-DCCF-JMV-01-00051   AV-DCCF-JMV-01-00051               Agent             1
                                               10.66.0.21-df8817c90a4200156b7196e4ec0717ed.wav                            AV-DCCF-JMV-01-00052   AV-DCCF-JMV-01-00052               Agent             1
                                               10.66.0.21-f74460c40a4200152d5ef02c362b8d3e.wav                            AV-DCCF-JMV-01-00053   AV-DCCF-JMV-01-00053               Agent             1
                                               10.66.0.21-fb6cb3670a4200156b7196e42f054b2d.wav                            AV-DCCF-JMV-01-00054   AV-DCCF-JMV-01-00054               Agent             1
                                               10.66.0.21-fc765b5b0a4200152d5ef02c1b36bf19.wav                            AV-DCCF-JMV-01-00055   AV-DCCF-JMV-01-00055               Agent             1
                                               10.67.0.21-1f44813c0a4300153137ddc0f3a913a2.wav                            AV-DCCF-JMV-01-00056   AV-DCCF-JMV-01-00056               Agent             1
                                               10.67.0.21-2eaa4fd90a4300153137ddc0a1b198b1.wav                            AV-DCCF-JMV-01-00057   AV-DCCF-JMV-01-00057               Agent             1
                                               10.67.0.21-059bfc650a4300153137ddc03e7401b8.wav                            AV-DCCF-JMV-01-00058   AV-DCCF-JMV-01-00058               Agent             1
                                               10.67.0.21-673ac4000a43001536ab8f0b74918abb.wav                            AV-DCCF-JMV-01-00059   AV-DCCF-JMV-01-00059               Agent             1
                                               10.67.0.21-7694f2240a43001536ab8f0b2a9a7e3f.wav                            AV-DCCF-JMV-01-00060   AV-DCCF-JMV-01-00060               Agent             1
                                               10.67.0.21-a38f52120a43001565c530da8698a6c9.wav                            AV-DCCF-JMV-01-00061   AV-DCCF-JMV-01-00061               Agent             1
                                               10.67.0.21-b780700f0a43001565c530da5c67f42f.wav                            AV-DCCF-JMV-01-00062   AV-DCCF-JMV-01-00062               Agent             1
                                               10.67.0.21-b48457520a43001500b24816b9a57405.wav                            AV-DCCF-JMV-01-00063   AV-DCCF-JMV-01-00063               Agent             1
                                               10.67.0.21-c0d0fd040a43001565c530da0ef9c1f1.wav                            AV-DCCF-JMV-01-00064   AV-DCCF-JMV-01-00064               Agent             1
                                               10.67.0.21-d38b30f90a43001500b2481674547a02.wav                            AV-DCCF-JMV-01-00065   AV-DCCF-JMV-01-00065               Agent             1
                                               10.67.0.21-fb670eb50a4300153137ddc0cc45147b.wav                            AV-DCCF-JMV-01-00066   AV-DCCF-JMV-01-00066               Agent             1
                                               10.68.0.21-1f3e6dba0a440015710fa33859c88cd6.wav                            AV-DCCF-JMV-01-00067   AV-DCCF-JMV-01-00067               Agent             1
                                               10.68.0.21-4f8938950a44001565d1fefaa19fa42c.wav                            AV-DCCF-JMV-01-00068   AV-DCCF-JMV-01-00068               Agent             1
                                               10.68.0.21-7bcfa9070a440015762fe238df65d631.wav                            AV-DCCF-JMV-01-00069   AV-DCCF-JMV-01-00069               Agent             1
                                               10.68.0.21-8b4447b70a440015735947cabedad79e.wav                            AV-DCCF-JMV-01-00070   AV-DCCF-JMV-01-00070               Agent             1
                                               10.68.0.21-009c893d0a440015710fa33812e66b05.wav                            AV-DCCF-JMV-01-00071   AV-DCCF-JMV-01-00071               Agent             1
                                               10.68.0.21-9f7de9df0a440015735947ca4a3a682b.wav                            AV-DCCF-JMV-01-00072   AV-DCCF-JMV-01-00072               Agent             1
                                               10.68.0.21-95c2f2710a440015735947caf274fb72.wav                            AV-DCCF-JMV-01-00073   AV-DCCF-JMV-01-00073               Agent             1
                                               10.68.0.21-614d6bae0a440015710fa338e2ca6a3a.wav                            AV-DCCF-JMV-01-00074   AV-DCCF-JMV-01-00074               Agent             1
                                               10.68.0.21-719c0aa90a440015762fe238e9620caf.wav                            AV-DCCF-JMV-01-00075   AV-DCCF-JMV-01-00075               Agent             1
                                               10.68.0.21-15104ed40a440015710fa33814dad327.wav                            AV-DCCF-JMV-01-00076   AV-DCCF-JMV-01-00076               Agent             1
                                               10.68.0.21-337488f00a440015710fa33897a177f0.wav                            AV-DCCF-JMV-01-00077   AV-DCCF-JMV-01-00077               Agent             1
                                               10.68.0.21-8120125c0a440015762fe23878abe859.wav                            AV-DCCF-JMV-01-00078   AV-DCCF-JMV-01-00078               Agent             1
                                               10.68.0.21-a539011b0a440015735947ca2fa9b71d.wav                            AV-DCCF-JMV-01-00079   AV-DCCF-JMV-01-00079               Agent             1
                                               10.68.0.21-b45cfd5e0a440015735947ca9ce82a59.wav                            AV-DCCF-JMV-01-00080   AV-DCCF-JMV-01-00080               Agent             1
                                               10.68.0.21-c0d72af70a44001565d1fefa01552dbd.wav                            AV-DCCF-JMV-01-00081   AV-DCCF-JMV-01-00081               Agent             1
                                               10.68.0.21-deefa7ef0a440015710fa338381db518.wav                            AV-DCCF-JMV-01-00082   AV-DCCF-JMV-01-00082               Agent             1
                                               10.68.0.21-e9f7436b0a440015710fa338fe929ac2.wav                            AV-DCCF-JMV-01-00083   AV-DCCF-JMV-01-00083               Agent             1
                                               10.68.0.21-e68e5d570a440015735947caab99c00b.wav                            AV-DCCF-JMV-01-00084   AV-DCCF-JMV-01-00084               Agent             1
                                               10.68.0.21-f4c9b4140a440015735947ca6acfa054.wav                            AV-DCCF-JMV-01-00085   AV-DCCF-JMV-01-00085               Agent             1
                                               10.68.0.21-fb4c33e00a440015710fa338768b7049.wav                            AV-DCCF-JMV-01-00086   AV-DCCF-JMV-01-00086               Agent             1
                                               10.80.0.21-005c779d0a50001515d9e55bd0bd857e.wav                            AV-DCCF-JMV-01-00087   AV-DCCF-JMV-01-00087               Agent             1
                                               10.80.0.21-6c656fa70a5000152e6b53e6c5d0eab1.wav                            AV-DCCF-JMV-01-00088   AV-DCCF-JMV-01-00088               Agent             1
                                               10.80.0.21-9add7bb10a5000150ee883eca1f66b53.wav                            AV-DCCF-JMV-01-00089   AV-DCCF-JMV-01-00089               Agent             1
                                               10.80.0.21-9aeeaa580a5000150ee883ec36ac845b.wav                            AV-DCCF-JMV-01-00090   AV-DCCF-JMV-01-00090               Agent             1
                                               10.80.0.21-57bc3d730a50001515d9e55b6f2bdb0b.wav                            AV-DCCF-JMV-01-00091   AV-DCCF-JMV-01-00091               Agent             1
                                               10.80.0.21-99cfae260a5000150ee883ec3d3977da.wav                            AV-DCCF-JMV-01-00092   AV-DCCF-JMV-01-00092               Agent             1
                                               10.80.0.21-907b917d0a5000150ee883ec2292c49d.wav                            AV-DCCF-JMV-01-00093   AV-DCCF-JMV-01-00093               Agent             1
                                               10.80.0.21-52723e5b0a50001515d9e55ba96895a8.wav                            AV-DCCF-JMV-01-00094   AV-DCCF-JMV-01-00094               Agent             1
                                               10.80.0.21-b99280260a5000150ee883ec05528b61.wav                            AV-DCCF-JMV-01-00095   AV-DCCF-JMV-01-00095               Agent             1
                                               10.80.0.21-e6a3dccb0a50001515d9e55b0d1750bf.wav                            AV-DCCF-JMV-01-00096   AV-DCCF-JMV-01-00096               Agent             1
                                               10.80.0.21-e6cb820f0a50001515d9e55b4f54a0c6.wav                            AV-DCCF-JMV-01-00097   AV-DCCF-JMV-01-00097               Agent             1
                                               10.80.0.21-f4ccdc800a5000150ee883ec870052e9.wav                            AV-DCCF-JMV-01-00098   AV-DCCF-JMV-01-00098               Agent             1
                                               10.81.0.21-03fd10f80a51001557bb2fc46240bd06.wav                            AV-DCCF-JMV-01-00099   AV-DCCF-JMV-01-00099               Agent             1
                                               10.81.0.21-5d06e4180a51001557bb2fc4279845f1.wav                            AV-DCCF-JMV-01-00100   AV-DCCF-JMV-01-00100               Agent             1
                                               10.81.0.21-5efb5a360a5100157d88c3cf256e8f5b.wav                            AV-DCCF-JMV-01-00101   AV-DCCF-JMV-01-00101               Agent             1
                                               10.81.0.21-8b3788140a51001530bab202454b61b3.wav                            AV-DCCF-JMV-01-00102   AV-DCCF-JMV-01-00102               Agent             1
                                               10.81.0.21-9cf75d870a5100157d88c3cf0c85ce62.wav                            AV-DCCF-JMV-01-00103   AV-DCCF-JMV-01-00103               Agent             1
                                               10.81.0.21-42ce85be0a51001557bb2fc4c0542d51.wav                            AV-DCCF-JMV-01-00104   AV-DCCF-JMV-01-00104               Agent             1
                                               10.81.0.21-61f69a5d0a51001557bb2fc4186337ff.wav                            AV-DCCF-JMV-01-00105   AV-DCCF-JMV-01-00105               Agent             1
                                               10.81.0.21-66ed847c0a5100155dc844b237c124cd.wav                            AV-DCCF-JMV-01-00106   AV-DCCF-JMV-01-00106               Agent             1
                                               10.81.0.21-80ab569b0a5100155dc844b2a7abfaf5.wav                            AV-DCCF-JMV-01-00107   AV-DCCF-JMV-01-00107               Agent             1
                                               10.81.0.21-90a0f7560a51001530bab20263def571.wav                            AV-DCCF-JMV-01-00108   AV-DCCF-JMV-01-00108               Agent             1
                                               10.81.0.21-627b34d70a5100155dc844b25308ac07.wav                            AV-DCCF-JMV-01-00109   AV-DCCF-JMV-01-00109               Agent             1
                                               10.81.0.21-860bd4460a5100155dc844b2960d93d7.wav                            AV-DCCF-JMV-01-00110   AV-DCCF-JMV-01-00110               Agent             1
                                               10.81.0.21-4804f1ca0a51001557bb2fc4aa226d89.wav                            AV-DCCF-JMV-01-00111   AV-DCCF-JMV-01-00111               Agent             1
                                               10.81.0.21-38726e9c0a51001557bb2fc48eb9d605.wav                            AV-DCCF-JMV-01-00112   AV-DCCF-JMV-01-00112               Agent             1
                                               10.81.0.21-56668f900a5100157d88c3cf109772f1.wav                            AV-DCCF-JMV-01-00113   AV-DCCF-JMV-01-00113               Agent             1
                                               10.81.0.21-627666790a5100155dc844b22861f541.wav                            AV-DCCF-JMV-01-00114   AV-DCCF-JMV-01-00114               Agent             1
                                               10.81.0.21-865052340a5100155dc844b225b54dd1.wav                            AV-DCCF-JMV-01-00115   AV-DCCF-JMV-01-00115               Agent             1
                                               10.81.0.21-a525e9e90a51001530bab20276ae6536.wav                            AV-DCCF-JMV-01-00116   AV-DCCF-JMV-01-00116               Agent             1
                                               10.81.0.21-adabe9070a51001530bab2027042ac16.wav                            AV-DCCF-JMV-01-00117   AV-DCCF-JMV-01-00117               Agent             1
                                               10.81.0.21-c704e0ad0a5100157d88c3cf20b42799.wav                            AV-DCCF-JMV-01-00118   AV-DCCF-JMV-01-00118               Agent             1
                                               10.81.0.21-cbc122130a51001530bab202d748ebb9.wav                            AV-DCCF-JMV-01-00119   AV-DCCF-JMV-01-00119               Agent             1
                                               10.81.0.21-dbebba490a51001530bab2029532084a.wav                            AV-DCCF-JMV-01-00120   AV-DCCF-JMV-01-00120               Agent             1
                                               10.81.0.21-e9f493db0a51001557bb2fc497d1b6f9.wav                            AV-DCCF-JMV-01-00121   AV-DCCF-JMV-01-00121               Agent             1
                                               10.82.0.21-33b4e4440a5200153cbdcad4f663a5a4.wav                            AV-DCCF-JMV-01-00122   AV-DCCF-JMV-01-00122               Agent             1
                                               10.82.0.21-908304bd0a5200157b0ad7808c644169.wav                            AV-DCCF-JMV-01-00123   AV-DCCF-JMV-01-00123               Agent             1
                                               10.82.0.21-aa4c999a0a5200157b0ad780014e5155.wav                            AV-DCCF-JMV-01-00124   AV-DCCF-JMV-01-00124               Agent             1
                                               10.82.0.21-dc0cabdf0a5200153cbdcad4cd415871.wav                            AV-DCCF-JMV-01-00125   AV-DCCF-JMV-01-00125               Agent             1
                                               10.82.0.21-dc7e221e0a5200153cbdcad41e565aff.wav                            AV-DCCF-JMV-01-00126   AV-DCCF-JMV-01-00126               Agent             1
                                               10.82.0.21-ebc654ff0a5200153cbdcad41c52a885.wav                            AV-DCCF-JMV-01-00127   AV-DCCF-JMV-01-00127               Agent             1
                                               10.82.0.21-fc26a1f30a5200157b0ad7804f17bb07.wav                            AV-DCCF-JMV-01-00128   AV-DCCF-JMV-01-00128               Agent             1
                                               10.83.0.21-4f8c2a010a5300153b6a62e5656dfc1f.wav                            AV-DCCF-JMV-01-00129   AV-DCCF-JMV-01-00129               Agent             1
                                               10.83.0.21-5c2187380a5300157bfaa588f56a99b8.wav                            AV-DCCF-JMV-01-00130   AV-DCCF-JMV-01-00130               Agent             1
                                               10.83.0.21-7baf58af0a5300150095973de0fc4537.wav                            AV-DCCF-JMV-01-00131   AV-DCCF-JMV-01-00131               Agent             1
                                               10.83.0.21-51af41ca0a5300157bfaa58846b3e1ce.wav                            AV-DCCF-JMV-01-00132   AV-DCCF-JMV-01-00132               Agent             1
                                               10.83.0.21-89e7fa540a5300153b6a62e5db8f1327.wav                            AV-DCCF-JMV-01-00133   AV-DCCF-JMV-01-00133               Agent             1
                                               10.83.0.21-907dc30b0a5300156743454c127343b5.wav                            AV-DCCF-JMV-01-00134   AV-DCCF-JMV-01-00134               Agent             1
                                               10.83.0.21-05748be80a5300157bfaa588033c8774.wav                            AV-DCCF-JMV-01-00135   AV-DCCF-JMV-01-00135               Agent             1
                                               10.83.0.21-a2e44f4b0a5300153b6a62e5f557cfe2.wav                            AV-DCCF-JMV-01-00136   AV-DCCF-JMV-01-00136               Agent             1
                                               10.83.0.21-b45f62fa0a5300156743454c7ce960b1.wav                            AV-DCCF-JMV-01-00137   AV-DCCF-JMV-01-00137               Agent             1
                                               10.83.0.21-ce1ff69b0a5300156743454cba29d813.wav                            AV-DCCF-JMV-01-00138   AV-DCCF-JMV-01-00138               Agent             1
                                               10.84.0.21-0fdefa890a5400154441ec5a4914d2ae.wav                            AV-DCCF-JMV-01-00139   AV-DCCF-JMV-01-00139               Agent             1
                                               10.84.0.21-03dd46130a5400154441ec5aded17a06.wav                            AV-DCCF-JMV-01-00140   AV-DCCF-JMV-01-00140               Agent             1
                                               10.84.0.21-3db21a640a5400154441ec5a3b98b3c1.wav                            AV-DCCF-JMV-01-00141   AV-DCCF-JMV-01-00141               Agent             1
                                               10.84.0.21-6c145a050a54001570ccde81b4dfa24d.wav                            AV-DCCF-JMV-01-00142   AV-DCCF-JMV-01-00142               Agent             1
                                               10.84.0.21-057af0b70a5400154441ec5abea1d2d0.wav                            AV-DCCF-JMV-01-00143   AV-DCCF-JMV-01-00143               Agent             1
                                               10.84.0.21-610cdd060a5400154441ec5aad97ad8b.wav                            AV-DCCF-JMV-01-00144   AV-DCCF-JMV-01-00144               Agent             1
                                               10.84.0.21-94591c960a5400152560e2d0e0f51b16.wav                            AV-DCCF-JMV-01-00145   AV-DCCF-JMV-01-00145               Agent             1
                                               10.84.0.21-a4c421a80a5400157af86d805ece5719.wav                            AV-DCCF-JMV-01-00146   AV-DCCF-JMV-01-00146               Agent             1
                                               10.84.0.21-a5175f480a5400157af86d80ceb7d5ec.wav                            AV-DCCF-JMV-01-00147   AV-DCCF-JMV-01-00147               Agent             1
                                               10.84.0.21-c7be85720a5400157af86d804dec951a.wav                            AV-DCCF-JMV-01-00148   AV-DCCF-JMV-01-00148               Agent             1
                                               10.84.0.21-c8cf1ec40a5400157af86d80bb3e15f6.wav                            AV-DCCF-JMV-01-00149   AV-DCCF-JMV-01-00149               Agent             1
                                               10.84.0.21-e7c6b6b10a5400157af86d8048fcad3d.wav                            AV-DCCF-JMV-01-00150   AV-DCCF-JMV-01-00150               Agent             1
                                               10.84.0.21-e62b63c00a5400157af86d8057ca62e6.wav                            AV-DCCF-JMV-01-00151   AV-DCCF-JMV-01-00151               Agent             1
                                               10.84.0.21-ec736c8b0a5400157af86d808f319e1c.wav                            AV-DCCF-JMV-01-00152   AV-DCCF-JMV-01-00152               Agent             1
                                               10.84.0.21-fb1b78b30a5400154441ec5aa84b8f71.wav                            AV-DCCF-JMV-01-00153   AV-DCCF-JMV-01-00153               Agent             1
                                               10.89.0.21-1a1b74680a5900150e1c84a5ba4529a5.wav                            AV-DCCF-JMV-01-00154   AV-DCCF-JMV-01-00154               Agent             1
                                               10.89.0.21-2ecb56600a5900150e1c84a5ca33b022.wav                            AV-DCCF-JMV-01-00155   AV-DCCF-JMV-01-00155               Agent             1
                                               10.89.0.21-6ff65def0a5900155a2d336097fc3991.wav                            AV-DCCF-JMV-01-00156   AV-DCCF-JMV-01-00156               Agent             1
                                               10.89.0.21-57ef1a450a5900150e1c84a560984165.wav                            AV-DCCF-JMV-01-00157   AV-DCCF-JMV-01-00157               Agent             1
                                               10.89.0.21-60faf80a0a5900150e1c84a544be5b65.wav                            AV-DCCF-JMV-01-00158   AV-DCCF-JMV-01-00158               Agent             1
                                               10.89.0.21-80f6799e0a5900154d506e73db2868d0.wav                            AV-DCCF-JMV-01-00159   AV-DCCF-JMV-01-00159               Agent             1
                                               10.89.0.21-908d5ea50a59001517defd7eb4c17dcb.wav                            AV-DCCF-JMV-01-00160   AV-DCCF-JMV-01-00160               Agent             1
                                               10.89.0.21-7698ef0d0a5900154d506e732ab0a1bf.wav                            AV-DCCF-JMV-01-00161   AV-DCCF-JMV-01-00161               Agent             1
                                               10.89.0.21-0573037f0a5900150e1c84a5bc3c9b6f.wav                            AV-DCCF-JMV-01-00162   AV-DCCF-JMV-01-00162               Agent             1
                                               10.89.0.21-cb797ae30a5900155a2d336090d581a6.wav                            AV-DCCF-JMV-01-00163   AV-DCCF-JMV-01-00163               Agent             1
                                               10.89.0.21-cf79048b0a5900155a2d336024a35b58.wav                            AV-DCCF-JMV-01-00164   AV-DCCF-JMV-01-00164               Agent             1
                                               10.89.0.21-d88828cf0a59001517defd7ef8f4606e.wav                            AV-DCCF-JMV-01-00165   AV-DCCF-JMV-01-00165               Agent             1
                                               10.89.0.21-e18c50c50a5900150e1c84a51643f14d.wav                            AV-DCCF-JMV-01-00166   AV-DCCF-JMV-01-00166               Agent             1
                Jail Call Report               Jail Call Detail Report                                                    AV-DCCF-JMV-01-00167   AV-DCCF-JMV-01-00167.13            Agent             1
Background      D Steele Criminal History      Steele Drivers License                                                     BG-DJS-01-00001        BG-DJS-01-00001.04                 Agent             1
                D Steele Criminal History      Steele FBI report                                                          BG-DJS-01-00002        BG-DJS-01-00002                    Agent             1
                D Steele Criminal History      Steele UCCH                                                                BG-DJS-01-00003        BG-DJS-01-00003.09                 Agent             1
                J. Vanderwoude Criminal Hist   Drivers License Vanderwoude.docx                                           BG-JMV-01-00001        BG-JMV-01-00001.07                 Agent             1
                J. Vanderwoude Criminal Hist   NCIC_Vanderwoude.docx                                                      BG-JMV-01-00002        BG-JMV-01-00002.02                 Agent             1
                J. Vanderwoude Criminal Hist   Rapsheet_Vanderwoude                                                       BG-JMV-01-00003        BG-JMV-01-00003.22                 Agent             1
Media           Interviews                     Dana Steele Interview                                                      INT-DJS-01-00001       INT-DJS-01-00001                   Agent             1
                                               Dana Steele Interview                                                      INT-DJS-01-00002       INT-DJS-01-00002                   Agent             1
                                               Justin Vanderwoude Interview                                               INT-JMV-01-00001       INT-JMV-01-00001                   Agent             1
                                               Larry Thompson Interview                                                   INT-LT-01-00001        INT-LT-01-00001                    Agent             1
Media           Case Photographs               File name 20210128_160839.jpg                                              PH-01-00001            PH-01-00001                        Agent             1
                                               File name 20210128_161653.jpg                                              PH-01-00002            PH-01-00002                        Agent             1
                                               File name 20210128_161657.jpg                                              PH-01-00003            PH-01-00003                        Agent             1
                                               File name 20210128_193712.jpg                                              PH-01-00004            PH-01-00004                        Agent             1
                                               File name 20210128_193717.jpg                                              PH-01-00005            PH-01-00005                        Agent             1
                                               File name 20210128_193838.jpg                                              PH-01-00006            PH-01-00006                        Agent             1
                                               File name IMG_4261.jpg                                                     PH-01-00007            PH-01-00007                        Agent             1
                                               File name IMG_4262.jpg                                                     PH-01-00008            PH-01-00008                        Agent             1
                                               File name IMG_4263.jpg                                                     PH-01-00009            PH-01-00009                        Agent             1
                                               File name IMG_4265.jpg                                                     PH-01-00010            PH-01-00010                        Agent             1
Investigative   ATF Nexus Reports              Armscor Summary                                                            RPT-ATF-01-00001       RPT-ATF-01-00001                   Agent             1
                ATF Nexus Reports              CUGIR PSL 762 Summary Trace                                                RPT-ATF-01-00002       RPT-ATF-01-00002                   Agent             1
                ATF Nexus Reports              Molot VEPR Summary Trace                                                   RPT-ATF-01-00003       RPT-ATF-01-00003                   Agent             1
                ATF Nexus Reports              Taurus PT111 G2 Summary Trace                                              RPT-ATF-01-00004       RPT-ATF-01-00004                   Agent             1
                ATF Nexus Reports              Cugir WASR 1063 Full Trace                                                 RPT-ATF-01-00005       RPT-ATF-01-00005.04                Agent             1
                HSI Reports                    1 ROI Case Opening_Background of Investigation                             RPT-HSI-01-00001       RPT-HSI-01-00001.04                Agent             1
                HSI Reports                    2 ROI Buy_Rip of Justin Vanderwoude and Dana Steele (1)                    RPT-HSI-01-00002       RPT-HSI-01-00002.04                Agent             1
                HSI Reports                    3 ROI Buy_Rip of Justin Vanderwoude Agent Faiola Supplemental Report (1)   RPT-HSI-01-00003       RPT-HSI-01-00003.03                Agent             1
                HSI Reports                    4 ROI Buy_Rip of Justin Vanderwoude Agent Roper Supplemental (1)           RPT-HSI-01-00004       RPT-HSI-01-00004.03                Agent             1
                UBFS Lab Report                21N-94 Lab Results - Meth                                                  RPT-UBFS-01-00001      RPT-UBFS-01-00001.02               Agent             1
                WMSF Report                    WNSF Police Report No. 21N-94                                              RPT-WMSF-01-00001      RPT-WMSF-01-00001.27               Agent             1
